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1700 G Street NW, Washington, D.C. 20552


                                              March 6, 2023

Via CM/ECF

Patricia S. Dodszuweit, Clerk of Court
United States Court of Appeals for the Third Circuit
21400 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

   Re: CFPB v. National Collegiate Master Student Loan Trust, No. 22-1864

Dear Ms. Dodszuweit:

      This letter responds to the Defendant-Trusts’ March 3 letter about CFPB v.
Community Financial Services Ass’n, No. 22-448 (U.S. cert. granted Feb. 27,
2023) (“CFSA”).

        CFSA concerns a challenge to the Bureau’s statutory funding mechanism. It
is irrelevant to the issues presented in this interlocutory appeal: whether the Trusts
are “covered persons” under the Consumer Financial Protection Act, and whether
the amended complaint must be dismissed because of the CFPA’s inoperative
removal provision.

       Because the decision under review in CFSA looked by analogy to Collins v.
Yellen, 141 S. Ct. 1761 (2021), in assessing the appropriate remedy for an
Appropriations Clause violation, the Trusts say that CFSA could “aid this Court’s
resolution of this appeal.” No further help is needed. Collins squarely holds that
parties cannot challenge actions (like the amended complaint here) based on a
removal provision that did not apply to the relevant agency official. Bureau Br.
at 34-37. Collins is equally clear that to challenge other actions, a party must show
that the provision caused it harm—something the Trusts cannot do. Id. at 37-46.
There is no reason to expect the Court in CFSA to suddenly reconsider these core



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remedial holdings of Collins (decided just two terms ago)—if it addresses Collins
at all.

      Indeed, the Court has indicated it will not address how Collins applies when
a removal provision is invalid. Respondents in CFSA filed a cross-petition seeking
review of the Fifth Circuit’s ruling that they were not entitled to relief under
Collins because they had not shown that the CFPA’s removal provision harmed
them. Cross-Pet. at 13-19, CFSA v. CFPB (No. 663), 2023 WL 336413. (They also
asked that the Court add that question if it granted the Bureau’s petition.)
Respondents’ arguments closely mirrored the Trusts’ here. See id. The Court
denied Respondents’ cross-petition and added no questions when granting the
Bureau’s petition.

      CFSA warrants no delay in resolving the Trusts’ appeal, at which point the
Bureau’s enforcement action—stayed pending this appeal—can resume, and the
Trusts may seek to raise, for the first time, whatever objections they have to the
Bureau’s funding.


                                      Respectfully submitted,

                                      /s/ Kevin E. Friedl
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cc: Counsel of Record




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